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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT


GARRET SITTS, et al.,

      Plaintiffs,

v.                                        Civil Action No. 2:16-cv-00287-cr

DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

      Defendants.



         DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND
     DAIRY MARKETING SERVICES, LLC’S MOTION IN LIMINE NO. 10:
TO EXCLUDE EVIDENCE AND ARGUMENT ABOUT THE ALLEN ACTION AND
    PLAINTIFFS OTHER THAN THE FIRST 20 DESIGNATED PLAINTIFFS
              AND MEMORANDUM OF LAW IN SUPPORT
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       As the Court is aware, the 116 plaintiffs in this case filed their individual claims after opting

out of the class action settlement in Allen v. Dairy Farmers of America, Inc., No. 5:09-cv-230 (D.

Vt. Sept. 12, 2016) (“Allen”). Each of these 116 plaintiffs is pursuing its own individual claim for

damages; the group is not proceeding as a class. On May 1, 2020, this Court granted DFA’s motion

to sever and ruled that the first trial would be comprised of only 20 of the 116 plaintiffs (the

“Designated Plaintiffs”). Pursuant to Federal Rules of Evidence 402 and 403, defendants Dairy

Farmers of America, Inc. and Dairy Marketing Services, LLC (collectively, “DFA”) move this

Court to exclude any argument or evidence regarding the Designated Plaintiffs’ connection to the

Allen case, or to the remaining 96 plaintiffs.

                                           ARGUMENT

       “Evidence is relevant if . . . it has any tendency to make a fact more or less probable than

it would be without the evidence.” Fed. R. Evid. 401(a). At the same time, “irrelevant evidence

is not admissible.” Fed. R. Evid. 402. Alternatively, even if there were any probative value to

evidence regarding other plaintiffs, the Court should exclude such testimony because “its probative

value is substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, [or] misleading the jury.” Fed. R. Evid. 403.

       Here, there is no reason for the jury to know that the Designated Plaintiffs opted out of the

Allen case (or, indeed, that the Allen case existed, involved a class, or settled) or that there are 96

other plaintiffs. Those facts are irrelevant to the specific issues that the jury is being asked to

decide about the Designated Plaintiffs, i.e., whether DFA’s conduct supposedly suppressed the

pay prices that the Designated Plaintiffs received in their milk checks. Evidence relating to Allen

and to the other plaintiffs would serve no purpose other than to confuse and/or unfairly prejudice

the jury into falsely concluding that there must be merit in the Designated Plaintiffs’ claims
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because other plaintiffs have sued DFA on similar theories—even though no other plaintiff has

actually proven its claims.

        Courts routinely exclude evidence of other lawsuits or other litigants under Rule 402, Rule

403, or both. For example, in Puglisi v. Town of Hempstead Sanitary District No. 2, the court

excluded evidence about the existence of other lawsuits after noting that “[c]ourts generally

exclude evidence of other lawsuits, even if the other lawsuits are related to the case before the

court . . . . because the probative value of the existence of other lawsuits typically is substantially

outweighed by the danger of unfair prejudice.” No. 11-CV-445 (PKC), 2014 WL 12843521, at *2

(E.D.N.Y. Jan. 27, 2014). And in Jamarillo v. Hickson, the court excluded evidence of claims

against the defendant by other litigants because it was “irrelevant to the determination of

[p]laintiffs’ own claims.” No. 09–634 JCH/WDS, 2012 WL 13005397, at *3 (D.N.M. Oct. 31,

2012). To the same effect is In re Yazmin and Yaz (Drosprirenone) Marketing, Sales Practices

and PMF Products Liability Litigation, No. 3:10-cv-10223, 2011 WL 6740391, at *3 (S.D. Ill.

Dec. 22, 2011) (excluding evidence regarding the existence of other lawsuits). See also W.W.

McDonald Land Co. v. EQT Prod. Co., No. 2:11-CV-00418, 2014 WL 4063870, at *2 (S.D. W.

Va. Aug. 14, 2014) (excluding evidence or argument regarding a prior class action when the

current plaintiffs opted-out of that class action). This Court should do the same here.

                                          CONCLUSION

        For the foregoing reasons, DFA respectfully requests that the Court exclude any argument

or evidence regarding the Designated Plaintiffs’ connection to the Allen case, or to the remaining

96 plaintiffs.




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Dated: June 17, 2020                      Respectfully submitted by:

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                  LOCAL RULE 7(A)(7) CERTIFICATION OF COUNSEL

       The undersigned counsel for DFA certifies that DFA made a good faith attempt to obtain

plaintiffs’ agreement to the requested relief in this motion, but was not able to do so.



Dated: June 17, 2020                                  /s/ Alfred C. Pfeiffer Jr.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and served the below parties via email. The
CM/ECF system will provide service of such filing via Notice of Electronic Filing (NEF) to the
NEF parties:

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